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                                         UNITED STA TES DISTRICT COURT
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                                                                 Distri ct of Hawaii                       UNITED STATES
                                                                                                           UNITED STATES DISTRICT  COURT
                                                                                                                          DISTRICT COURT
                                                                                                                 DISTRICT OF HAWAII
                                                                                                                 DISTRICT OF  HAWAII

                                                                           )                                   Jun 08, 2022, 9:47 am
                    United States o f America                                                               Pam
                                                                                                            Pam Hartman Beyer, Clerk
                                                                                                                Hartman Beyer, Clerk of
                                                                                                                                     of Court
                                                                                                                                        Court
                                  V.                                       )
                                                                           )      Case N o.
                    MATTHEW BELANGER
                                                                           )                   Mag. No. 22-1003 KJM
                                                                           )
                                                                           )
                                                                           )
                            /Jefe11da111(s)

                                                      C RI M I NAL COMPLAINT

          I, the complainant in this case, state that the followin g is true to the best o f my kn owledge and belief.
On or about th e datc(s} of                       April & May 2020                in the county of                   Honolulu                   in the
                         D istrict of         Hawaii & Elsewhere       . the defendant(s) violated :

                Code Sect iu11                                                         Offe nse Description

18 U.S.C . §§ 2 , 371 , 922(a)(6 ), and              Aiding and abetting the making of a false statement to a federal firearm
924(a)(1)(A)                                         licensee that was material to the lawfulness of the sate of a fi rearm and
                                                     pertained to information required to be kept by the licensee in connection with
                                                     purchase of firearm; Conspiring to do same.




          This criminal complaint is based on these facts:

See attached Affidavit.




          flf    Continued on the attached sheet.



                                                                                                     C0111pla111a111 ·s s1J?.11at11re

                                                                                              Steel Stewa rt, FBI Special Agent
                                                                                                         Pr1111ed 11a111e 011d 111/e
Sworn to under oath before me telephonically.
and attestation acknowledged pursuant to
Fed. R. Crim. P. 4 .1(b)(2).

                                                                                                                            K enneth J. Mansfiel d
 Date:      _lune 8, 2022 at 9:38 a.m.                                                                                      Unircd State..~ Magistrare Judge


City and state:                               Honolulu. Hawaii
                            - ~-----




                                                          SEALED
                                                        BY ORDER OF THE COURT
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CLARE E. CONNORS #7936
United States Attorney
District of Hawaii

CRAIG S. NOLAN
Assistant U.S. Attorney
Room 6-100, PJKK Federal Building
300 Ala Moana Blvd.
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
Facsimile: (808) 541-2958
Email: Craig.Nolan@usdoj.gov

                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   Mag. No. 22-1003 KJM
                                        )
                    Plaintiff,          )   AFFIDAVIT IN SUPPORT OF
                                        )   CRIMINAL COMPLAINT
            vs.                         )
                                        )
MATTHEW BELANGER,                       )
                                        )
                    Defendant.          )
                                        )
                                        )

           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

      I, Steel Stewart, being duly sworn, depose and state the following;

      1.     I submit this affidavit in support of the foregoing Criminal Complaint,

charging Matthew BELANGER with conspiring with and aiding and abetting an

individual referred to as “Officer” in making a false statement to a federal firearm

licensee that was material to the lawfulness of the sale of a firearm and pertained to
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information required to be kept by the licensee, in connection with the purchase of

a firearm, in the District of Hawaii and elsewhere, during in or about April and

May 2020, in violation of 18 U.S.C. §§ 2, 371, 922(a)(6), and 924(a)(1)(A).

      2.     I have been a Special Agent with the Federal Bureau of Investigation

(“FBI”) since September 2019. During my training at the FBI Academy in

Quantico, Virginia, I received instruction in a variety of investigative and legal

matters, including the drafting of criminal complaint affidavits and requisite

probable cause. I am presently assigned to the Joint Terrorism Task Force – Pacific

(“JTTF-P”), where I work a variety of criminal and national security matters

including international and domestic terrorism. I have utilized court-authorized

search warrants, conducted physical surveillance, and interviewed subjects and

witnesses. As a federal agent, I am authorized to investigate violations of the laws

of the United States, and I am a law enforcement officer with the authority to

execute search and arrest warrants under the authority of the United States. Due to

my training and experience as an FBI Special Agent, I am familiar with the United

States Criminal Code.

      3.     The information in this affidavit comes from my personal

observations, my training and experience, and information obtained from other

agents, law enforcement personnel, and witnesses. This affidavit is intended to




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show only that there is probable cause for the specified violations of federal law,

and does not set forth all of my knowledge about this matter.

      4.     According to information and records from the United States Marine

Corps (“USMC”), BELANGER was an active member of the USMC, from August

27, 2018 to May 10, 2021, and was stationed at Marine Corps Base Hawaii located

at Kaneohe, Hawaii from October 15, 2019 to May 10, 2021. According to the

USMC, BELANGER did not submit or get approved any leave requests for travel

away from his duty station, Marine Corps Base Hawaii for the period March 12,

2020 to June 1, 2020.

      5.     On October 20, 2020, pursuant to a Command Authorized Search

approved by the USMC, USMC assisted by the FBI searched BELANGER’s

barracks and seized a laptop and two cell phones. A digital evidence review was

completed on all three devices belonging to BELANGER revealing approximately

1,950 images, videos and documents related to white power groups, Nazi literature,

brutality towards the Jewish community, brutality towards women, rape, mass

murderers, firearms, body armor, instructional documents relating to building

explosives and/or illegal firearms, violent uncensored executions and/or rape, and

communications related to illegally obtained firearms.

      6.     Documents obtained from Facebook on September 21, 2020,

confirmed Facebook UID 100007245783454 with display name Huey Long


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(“Long Account”) and Facebook UID 10004698874831 with display name Craven

Moorehead (“Moorhead Account”) were created and are owned by BELANGER.

In addition, during an October 20, 2020 interview by FBI agents and other law

enforcement, BELANGER confirmed both the Long Account and Moorhead

Account belonged to him.

      7.      On or about November 23, 2020, FBI served a search warrant issued

in District of Hawaii Mag. No. 20-1397 WRP on Facebook, Inc. for

BELANGER’s Long and Moorhead Accounts. Review of the two accounts

confirmed BELANGER’s ownership and use of the accounts.

      First Strawman Purchase of Firearm

      8.      A review of the Long Account revealed communications between

BELANGER and associates about a plan by BELANGER to use a police officer in

the State of New York (“Officer”) to purchase firearms for BELANGER. On or

about December 23, 2018, BELANGER engaged in the following discussion with

associates in a Facebook direct message group:

           BELANGER: “https://www.atlanticfirearms.com/products/ptr-gi-308-

           rifle-w-o-rail”

           BELANGER: *emoji of big eyes

           ASSOCIATE #1: *emoji of big eyes

           ASSOCIATE #2: “Gonna have to wait till out of state for that”


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           ASSOCIATE #2: “Or do what payton is doing”

           BELANGER: “Yeah Unfortunately you’re right. I wonder how I would

           go about getting it at my duty station.”

           [later in the conversation]

           BELANGER: “I’ll just get [Officer] to buy it lmao [known to mean

           ‘laughing my ass off’].”

The website address in the first message quoted above links to the website of

online gun merchant, Atlantic Firearms, and more specifically to a webpage

advertising for sale a PTR .308 assault rifle.

      9.      On March 23, 2019, BELANGER engaged in the following

conversation via Facebook direct message, utilizing his Long Account:

           BELANGER: “Okay so [Officer] is down for being my gun plug”

           BELANGER: “I showed him what the safe act has done to guns and what

           he is capable of getting.”

           BELANGER: “So if you boys have any ideas for guns he can get em and

           when we move have em ready to go for us.”

           BELANGER: “I’m doing that with my ptr91”

           ASSOCIATE #3: “I’m guessing he’s not willing to let us keep our guns

           in our house?”

           BELANGER: “I haven’t asked but that’s probably gonna be a no.”


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            BELANGER: “Like 99 percent.”

            BELANGER: “So I essentially got my gun plug.”

            BELANGER: “It’s the best I could offer you guys atm [known to stand

            for ‘at the moment’ in this context]”

            BELANGER: “If shtf [known to stand for ‘shit hits the fan’ in this

            context] or shit seems like it’s about to do it he might just say fuck it”

Based on the substance and context of the above communications, as well as my

training and experience, I believe that BELANGER’s use of the term “gun plug” is

intended to mean his use of Officer to make a strawman purchase of a firearm for

BELANGER; his use of “safe act” is intended to refer to the New York Safe Act,

which specifies requirements for gun purchases in the State of New York; and his

use of “ptr91” is intended to refer to the firearm he is seeking to acquire with the

assistance of Officer.

      10.      On April 4, 2019, utilizing his Long Account, BELANGER engaged

in a discussion regarding the legality of high-capacity rifle magazines, during

which he stated to an associate, “You’re in dire need of an upgrade. So am I

though so my ptr91 is gonna be here before we know it. I’ll have the gun plug get

me a battle rifle cucking all of New York in the process.”




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         11.      On June 12, 2019, BELANGER and Officer discussed via text

messaging (which FBI recovered from one of BELANGER’s cell phones) a

purchase by Officer of a PTR91 rifle for BELANGER:

               Officer: “What gun are you buying?”

               BELANGER: “Ptr91”

               Officer: “The guy at Fred’s thinks you can buy from a better dealer

               online, you’d have to buy the gun for me and it would be mine, then I’d

               FFL it to wherever you go.”

               BELANGER: “You almost out of work?”

               Officer: “Call my cell”

               BELANGER: “Alright”

         12.      On June 13, 2019, BELANGER and a relative discussed via text

messaging the financial implication for BELANGER of a purchase of the PTR91

rifle:

               Relative: “Don’t you think you have other important things to by other

               than a gun? That stuff you buy when you have a little money saved.”

               Relative: “Buy”

               BELANGER: “Not really. All I really have to buy is the plane ticket. By

               the time I come home I’d have another check in the 1 or 2 more checks in




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       the bank. So if I tighten my coffers a bit for a few months I can both save

       money and get what I wanted.”

       Relative: “So buy the gun when you come home.”

       BELANGER: “It won’t be there when I’m there. That’s the problem.”

       BELANGER: “The whole point of my purchasing it now was so when I

       get home I can go to the range with my friends.”

       Relative: “If you get yourself in a hole its very hard to get out.”

       Relative: “And how do you think you gonna pay [Officer] back”

       BELANGER: “200 bucks give or take every paycheck. I’d basically be

       giving him disposable income from my check.”

       Relative: “What about money to live and survive when you are not

       home? I’m your [relative] I worry about things like this”

       BELANGER: “[] lol, I don’t pay rent and food is ‘free’ here.”

       BELANGER: “It’s not like living in the civilian world.”

       Relative: “Then if that’s the case you should have a ton of money in the

       bank that you were saving this whole time…lol Pooge!!!!”

       BELANGER: I’ve been buying the last of the gear I need, plus RA killed

       me.”

       BELANGER: “But I’m not doing ra”




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            Relative: “If [Officer] is willing to do it for you fine but I don’t wanna

            hear you crying you have no money. And don’t be a [derogatory term] on

            payday with your money and never rob Peter to pay Paul..you get in

            financial trouble that way!.”

            BELANGER: “Yes dear”

      13.       On June 13, 2019, BELANGER and Officer discussed via text

messaging the purchase of the PTR91 rifle:

            BELANGER: “I got the green light [Officer].”

            Officer: “Ok”

            BELANGER: I’ll call you in a bit to finalize”

            Officer: “K”

      14.       On June 22, 2019, Officer texted a picture of what appears, based on

my training and experience, to be a PTR91 firearm to BELANGER, who

responded “It’s bea6” and sent a photo of what appears to be the same PTR91

firearm but with a wooden stock and barrel hand guard. Officer replied “Yes much

nicer.”

      15.      On July 17, 2019, BELANGER texted Officer “When you can send

more pictures of my gun.” Officer responded “K” and provided multiple photos of

what appears to be a PTR91 firearm.




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      16.      On August 2, 2019, BELANGER and Officer discussed via text

messaging payment for the purchase of the PTR91 rifle:

            Officer: “I sent a request, If cashapp works, send what you want when

            you want.”

            BELANGER: “Okay, just paid. Let me know if it goes through”

            Officer: “Yes looks good thanks”

            BELANGER: “Good, I’ll periodically pay when I can.”

            Officer: “Sounds good thanks”

      17.      BELANGER’s Cash App account was analyzed as part of FBI’s

digital review of BELANGER’s cell phone. (Cash App is a service provided by the

financial company Square that allows users to send and receive money using

digital devices.) Between August 2, 2019 and June 19, 2020, BELANGER made

multiple payments to Officer in increments of $25, $50, $100, $125, $150, $500,

$975, and $1,175. Some payments included the notation “For gun.”

      Charged Second Strawman Purchase of Firearm

      18.      On April 10, 2020, BELANGER and Officer discussed via text

messaging BELANGER’s desire to purchase another firearm:

            BELANGER: “https://www.gunbroker.com/item/864999964”

            BELANGER: “I think I wanna buy this”

            Officer: “Better you than me”


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            BELANGER: “I have the sponduli [based on the context, it is reasonable

            to believe BELANGER used this as slang for ‘money’] for it on hand”

            Officer: *sent a GIF of a cat looking away

            Officer: “I don’t know what that is, I’ll stick to my Glocks”

The website address in the first message quoted above links to the website of

online gun merchant, Gun Broker, but currently does not pull up a page with a

specific firearm. Based on my knowledge of GunBroker.com, its firearm listings

will no longer be accessible after the item is sold.

      19.      A review of data from BELANGER’s Long Account revealed that on

April 10, 2020, the Facebook account was active via IP address 173.198.66.67,

which according to the Internet Corporation for Assigned Names and Numbers

(ICANN) is an IP address assigned to a wireless internet service provider and

located at the USMC base in Kaneohe, Hawaii. On that date BELANGER was an

active member of the USMS assigned to the USMC base in Kaneohe, Hawaii.

      20.      On April 21, 2020, BELANGER and Officer discussed via text

messaging Officer’s purchase of a second firearm for BELANGER:

            BELANGER: “You order it?”

            Officer: Is that what you wanted? I saw it yesterday morning with no

            message..”

            BELANGER: “Yeah”


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            Officer: “Buy it now for 900? You know fees etc?”

            BELANGER: “Yes, let me know the total”

            Officer: “935 money order, 25 Fred’s, you can get the money order and

            send it and just send me Fred’s 25”

            Officer: “Or cash app me 975”

            Officer: “Just cash app 965 total”

            BELANGER: “I’ll just cash app”

            BELANGER: “Done”

            Officer: “K”

            BELANGER: “It’s a little beat up, but nothing I cant fix. And it’s all

            cosmetic ‘damage’ getting that for 900 was a steal”

            Officer: “K good”

      21.      During the course of this investigation, I have determined that “Fred’s

Gun Shop” is a federal firearm licensee that engages in retail sales of firearms to

the public, and is located in Port Jefferson Station, New York, which is the

municipality in which Officer resides and works.

      22.      Data from BELANGER’s cell phone demonstrates that on April 21,

2020, BELANGER sent $975 via Cash App to Officer.

      23.      A review of data from BELANGER’s Long Account revealed that on

April 21, 2020, the Facebook account was active via IP addresses 173.198.66.69,


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173.198.66.72, and 173.198.66.73, each of which according to the Internet

Corporation for Assigned Names and Numbers (ICANN) is an IP address assigned

to a wireless internet service provider and located at the USMC base in Kaneohe,

Hawaii. On that date BELANGER was an active member of the USMS assigned

to the USMC base in Kaneohe, Hawaii.

      24.   On May 19, 2020, BELANGER sent a Facebook direct message from

his Long Account to a group of associates stating, “Luger drip inbound

Wednesday.” On June 7, 2020, BELANGER sent another message to this same

group stating, “I’m gonna start concealed carrying that luger so soon Der boys

gonna be strapped at applebees.”

      25.   On or about May 20, 2020, Officer sent BELANGER multiple photos

via text message of what appears to be a Luger-style pistol. Luger is a German

manufactured pistol, which was used by the Nazi armed forces during World War

II.

      26.   A review of data from BELANGER’s Long Account revealed that on

May 20, 2020, the Facebook account was active via IP address 173.198.66.71,

which according to the Internet Corporation for Assigned Names and Numbers

(ICANN) is an IP address assigned to a wireless internet service provider and

located at the USMC base in Kaneohe, Hawaii. On that date BELANGER was an

active member of the USMS assigned to the USMC base in Kaneohe, Hawaii.


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      27.    During an October 20, 2020 interview by FBI agents and other law

enforcement, BELANGER stated that he owned two firearms, which he described

as a bolt action rifle and a Remington Model 870 tactical express shotgun. He

stated that the two firearms were stored at a relative’s residence in Selden, New

York. BELANGER confirmed he had access to more weapons, some of which he

said would be illegal for him to own in New York, through Officer. BELANGER

never mentioned the PTR assault rifle or the Lugar-style pistol that he purchased

using Officer as a strawman.

      28.    FBI has obtained from Fred’s Gun Shop the Bureau of Alcohol,

Tabaco, Firearms and Explosives (ATF) Form 4473s, entitled Firearms

Transaction Record, completed and signed by Officer when he purchased for

BELANGER the PTR91 rifle on or about June 22, 2019 and the Lugar-style pistol

on or about May 20, 2020. The Form 4473 is required by law to be completed by

the buyer of a firearm from a federal firearm licensee, and the federal firearm

licensee is required by law to keep the Form 4473 in its records. Question 11.a on

the Form 4473 reads, “Are you the actual transferee/buyer of the firearm(s) listed

on this form? Warning: You are not the actual transferee/buyer if you are

acquiring the firearm(s) on behalf of another person. If you are not the actual

transferee/buyer, the licensee cannot transfer the firearm(s) to you.” (bold in




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original). The instructions on the Form 4473 explain with respect to Question

11.a:

        Question 11.a. Actual Transferee/Buyer: For purposes of this form, a
        person is the actual transferee/buyer if he/she is purchasing the firearm for
        him/herself or otherwise acquiring the firearm for him/herself. (e.g.,
        redeeming the firearm from pawn, retrieving it from consignment, firearm
        raffle winner). A person is also the actual transferee/buyer if he/she is
        legitimately purchasing the firearm as a bona fide gift for a third party. A
        gift is not bona fide if another person offered or gave the person completing
        this form money, service(s), or item(s) of value to acquire the firearm for
        him/her, or if the other person is prohibited by law from receiving or
        possessing the firearm.

        Actual TRANSFEREE/buyer examples: Mr. Smith asks Mr. Jones to
        purchase a firearm for Mr. Smith (who may or may not be prohibited). Mr.
        Smith gives Mr. Jones the money for the firearm. Mr. Jones is NOT THE
        ACTUAL TRANSFEREE/BUYER of the firearm and must answer “NO”
        to question 11.a. The licensee may not transfer the firearm to Mr. Jones.
        However, if Mr. Brown buys the firearm with his own money to give to Mr.
        Black as a gift (with no service or tangible thing of value provided by Mr.
        Black), Mr. Brown is the actual transferee/buyer of the firearm and should
        answer “YES” to question 11.a. However, the transferor/seller may not
        transfer a firearm to any person he/she knows or has reasonable cause to
        believe is prohibited under 18 U.S.C. 922(g), (n) or (x). EXCEPTION: If a
        person is picking up a repaired firearm(s) for another person, he/she is not
        required to answer 11.a. and may proceed to question 11.b.

(bold and italics in original).

        29.   On each Form 4473, Officer responded to Question 11.a by checking

the “Yes” box, which was a knowing false statement that he was the actual buyer

of each firearm, rather than BELANGER. With regard to the purchase the Lugar-

style pistol on May 20, 2020, as described above, Officer bought the pistol at the



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direction of BELANGER and Officer had already accepted payment from

BELANGER for the firearm prior to completing the Form 4473.

      30.    By signing each of the Form 4473s, Officer certified as follows:

      I certify that my answers in Section A are true, correct, and complete. I
      have read and understand the Notices, Instructions, and Definitions on
      ATF Form 4473. I understand that answering “yes” to question 11.a. if I
      am not the actual transferee/buyer is a crime punishable as a felony
      under Federal law, and may also violate State and/or local law. I
      understand that a person who answers “yes” to any of the questions
      11.b. through 11.i and/or 12.b. through 12.c. is prohibited from
      purchasing or receiving a firearm. I understand that a person who
      answers “yes” to question 12.d.1. is prohibited from receiving or
      possessing a firearm, unless the person answers “yes” to question 12.d.2.
      and provides the documentation required in 18.c. I also understand that
      making any false oral or written statement, or exhibiting any false or
      misrepresented identification with respect to this transaction, is a crime
      punishable as a felony under Federal law, and may also violate State
      and/or local law. I further understand that the repetitive purchase of
      firearms for the purpose of resale for livelihood and profit without a
      Federal firearms license is a violation of Federal law. (See Instructions
      for Question 14.)

(bold and italics in original).

      31.    According to the USMC, BELANGER was discharged under Other

Than Honorable conditions for Misconduct (Serious Offense), specifically for

dissident/extremist activity from the USMC on or about May 10, 2021. According

to commercial databases, upon discharge from the USMC on May 10, 2021,

BELANGER returned to his relative’s home in Selden, New York.

      32.    Based on the foregoing, probable cause exists to believe that in the

District of Hawaii and elsewhere, during in or about April and May 2020,
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 BELANGER v io lated 18 U.S.C. §§ 2,37 1, 922(a)(6), and 924(a)(l)(A) by

 conspiring w ith and aiding and abetting an individual referred to as "Officer" in

  making a false statement to a federa l fire arm licensee that was material to the

  law fuln ess of the sale of a firea rm and pertained to information required to be kept

 by the li censee, in connection with the purchase of a firearm.

        Dated: June~' 2022, at Honolulu, Hawaii.

                                                     Respectfully Submitted.




                                                     STEEL STEWART
                                                     Special Agent
                                                     Federal Bureau of Investigati on

 Sworn to under oath before me telephonically, and attestati on acknowledged
 pursuant to Federal Rule of Criminal Procedure 4.1 (b)(2), this 8th    day of
 June, 2022.

 Based upon the foregoing, the undersigned Judi cial Officer finds that th ere is
 probab le cause to believe that the defendant above-named commi tted the crimes
 charged in the Criminal Complaint, this 8th       day of June, 2022




                             Kenneth J. Mansfield
                             United State.<; Magistrate Judge




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